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                                                   U.S. Department of Justice


                                                   United States Attorney
                                                   Eastern District of New York
AB:MPR/CRH/RCH                                     271 Cadman Plaza East
F. #2018R01833/OCDETF #NYNYE-801                   Brooklyn, New York 11201

                                                   October 16, 2020

By ECF

The Honorable Carol B. Amon
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

              Re:     United States v. Salvador Cienfuegos Zepeda
                      Criminal Docket No. 19-366 (CBA) (E.D.N.Y.)

Dear Judge Amon:

              The government respectfully submits this letter in support of its motion for a
permanent order of detention for the defendant Salvador Cienfuegos Zepeda. The defendant
held the position of Secretary of National Defense in Mexico from 2012 to 2018. The
defendant abused that public position to help the H-2 Cartel, an extremely violent Mexican
drug trafficking organization, traffic thousands of kilograms of cocaine, heroin,
methamphetamine and marijuana into the United States, including New York City. In
exchange for bribe payments, he permitted the H-2 Cartel—a cartel that routinely engaged in
wholesale violence, including torture and murder—to operate with impunity in Mexico.

              In connection with his crimes, on August 14, 2019, a grand jury sitting in the
Eastern District of New York returned an indictment charging the defendant with drug
trafficking and money laundering crimes. That same day, U.S. Magistrate Judge Vera M.
Scanlon issued a warrant for the defendant’s arrest.

              Federal agents arrested the defendant yesterday in Los Angeles, CA. He is
scheduled to make his initial appearance on a removal complaint in the Central District of
California today, and the government expects that he will be transported to the Eastern District
of New York and arraigned on the indictment in the coming weeks. For the reasons set forth
below, at his arraignment in the Eastern District of New York, the Court should enter a
permanent order of detention, as no combination of conditions can secure the defendant’s
appearance at trial.
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I.     Procedural and Factual Background

       A.     Overview

              Between 2012 and 2018, the defendant was the Secretary of National Defense
for Mexico, responsible for managing the Mexican Army and the Mexican Air Force and
reported directly to the Mexican President. While holding public office in Mexico, the
defendant used his official position to assist the H-2 Cartel, a notorious Mexican drug cartel,
in exchange for bribes.

       B.     Background on the H-2 Cartel

               The H-2 Cartel is a violent Mexican drug trafficking organization that was
previously led by Juan Francisco Patron Sanchez, also known as “H-2,” and based in Nayarit
and Sinaloa, Mexico. During the relevant time period, the H-2 Cartel had numerous
distribution cells in the United States, including in Los Angeles, Las Vegas, Ohio, Minnesota,
North Carolina and New York, through which it distributed thousands of kilograms of heroin,
cocaine, methamphetamine and marijuana and earned millions of dollars in illegal proceeds.
In Mexico, the H-2 Cartel trafficked in hundreds of lethal firearms and committed countless
acts of horrific violence, including torture and murder, in order to protect against challenges
from rival drug trafficking organizations, fight for territory and silence those who would
cooperate with law enforcement. The H-2 Cartel has transported drug shipments to and
collected drug proceeds from New York City, including areas in Brooklyn.

                The H-2 Cartel has used corruption of public officials, including bribes to the
defendant while he was a high-ranking Mexican official, as a means and method of achieving
the goals of its drug trafficking enterprise. In exchange for bribes of other Mexican
government officials, the H-2 Cartel ensured the arrest and torture of rival drug traffickers by
Mexican law enforcement officials, the release of members of the H-2 Cartel from prison, and
the ability to engage in wholesale drug trafficking, firearms trafficking and violence, including
dozens of murders, without interference by Mexican law enforcement officials.

       C.     The Defendant’s Criminal Conduct

                Evidence obtained by law enforcement officials, including the interception of
thousands of Blackberry Messenger communications, has revealed that, while he was the
Secretary of National Defense in Mexico, the defendant, in exchange for bribe payments,
assisted the H-2 Cartel in numerous ways, including by: (i) ensuring that military operations
were not conducted against the H-2 Cartel; (ii) initiating military operations against its rival
drug trafficking organizations; (iii) locating maritime transportation for drug shipments;
(iv) acting to expand the territory controlled by the H-2 Cartel to Mazatlán and the rest of
Sinaloa; (v) introducing senior leaders of the H-2 Cartel to other corrupt Mexican government
officials willing to assist in exchange for bribes; and (vi) warning the H-2 Cartel about the
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ongoing U.S. law enforcement investigation into the H-2 Cartel and its use of cooperating
witnesses and informants—which ultimately resulted in the murder of a member of the H-2
Cartel that the H-2 Cartel senior leadership incorrectly believed was assisting U.S. law
enforcement authorities.

               Among the many communications captured during the course of this
investigation are numerous direct communications between the defendant and a senior leader
of the H-2 Cartel, including communications in which the defendant discussed his historical
assistance to another drug trafficking organization, as well as communications in which the
defendant is identified by name, title and photograph as the Mexican government official
assisting the H-2 Cartel. Due in part to the defendant’s corrupt assistance, the H-2 Cartel
conducted its criminal activity in Mexico without significant interference from the Mexican
military and imported thousands of kilograms of cocaine, heroin, methamphetamine, and
marijuana into the United States.

               These thousands of intercepted communications amongst the members of the
H-2 Cartel are corroborated by numerous drug seizures of hundreds of kilograms of cocaine,
heroin and methamphetamine, as well as the seizure of hundreds of thousands of dollars in
drug proceeds in the United States. In addition, witnesses have provided a wealth of
information to the government about the operations of the H-2 Cartel, its regular employment
of violence to further its drug trafficking, its use of bribery to ensure government protection,
as well as the assistance of the defendant to the H-2 Cartel and other drug trafficking
organizations.

              As noted above, on August 14, 2019, a grand jury in the Eastern District of New
York returned an indictment charging the defendant with: (i) participating in an international
heroin, cocaine, methamphetamine and marijuana distribution conspiracy, in violation of Title
21, United States Code, Sections 963, 960(b)(1)(A), 960(b)(1)(B)(ii), 960(b)(1)(G),
960(b)(1)(H) and 959(d); (ii) participating in a heroin, cocaine, methamphetamine and
marijuana importation conspiracy, in violation of Title 21, United States Code, Sections 963,
960(b)(1)(A), 960(b)(1)(B)(ii), 960(b)(1)(G) and 960(b)(1)(H); (iii) participating in a heroin,
cocaine, methamphetamine and marijuana distribution conspiracy, in violation of Title 21,
United States Code, Sections 846, 841(b)(1)(A)(i), 841(b)(1)(A)(ii)(II), 841(b)(1)(A)(vii) and
841(b)(1)(A)(viii); and (iv) participating in a conspiracy to launder narcotics proceeds, in
violation of Title 18, United States Code, Section 1956(h). Federal agents arrested the
defendant yesterday in Los Angeles, CA.

II.    The Court Should Enter a Permanent Order of Detention

       A.     Legal Standard

              Under the Bail Reform Act, 18 U.S.C. § 3142 et seq., in cases where a defendant
is charged with “an offense for which a maximum term of imprisonment of ten years or more
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is prescribed in the Controlled Substances Act,” a court must presume, “subject to rebuttal by
the person,” that “no condition or combination of conditions will reasonably assure the
appearance of the person as required and the safety of the community,” if the court finds
probable cause to believe that the person committed such offense. 18 U.S.C. § 3142(e)(3)(A).
Regardless of whether the presumption applies, such probable cause may be established by an
indictment, such that there is no need for an independent judicial probable cause determination.
See United States v. Contreras, 776 F.2d 51, 54-55 (2d Cir. 1985).

               If a presumption of detention is applicable, the defendant bears the burden of
rebutting that presumption by coming forward with evidence “that he does not pose a danger
to the community or risk of flight.” United States v. Mercedes, 254 F.3d 433, 436 (2d Cir.
2001) (citation omitted). In any event, the government must ultimately persuade the court by
a preponderance of the evidence that the defendant is a flight risk. See United States v.
Jackson, 823 F.2d 4, 5 (2d Cir. 1987); United States v. Chimurenga, 760 F.2d 400, 405 (2d
Cir. 1985). Detention based on danger to the community must “be supported by clear and
convincing evidence.” 18 U.S.C. § 3142(f).

               The Bail Reform Act lists four factors to be considered in the detention analysis
whether for risk of flight or dangerousness: (1) the nature and circumstances of the offense
charged; (2) the history and characteristics of the defendant; (3) the seriousness of the danger
posed by the defendant’s release; and (4) the evidence of the defendant’s guilt. See id.
§ 3142(g). At a detention hearing, the government may proceed by proffer, United States v.
Ferranti, 66 F.3d 540, 541 (2d Cir. 1995); United States v. Martir, 782 F.2d 1141, 1145 (2d
Cir. 1986). As the Second Circuit has explained:

              [I]n the pre-trial context, few detention hearings involve live
              testimony or cross-examination. Most proceed on proffers. See
              United States v. LaFontaine, 210 F.3d 125, 131 (2d Cir. 2000).
              This is because bail hearings are ‘typically informal affairs, not
              substitutes for trial or discovery.’ United States v. Acevedo-
              Ramos, 755 F.2d 203, 206 (1st Cir. 1985) (Breyer, J.) (quoted
              approvingly in LaFontaine, 210 F.3d at 131).              Indeed,
              § 3142(f)(2)(B) expressly states that the Federal Rules of
              Evidence do not apply at bail hearings; thus, courts often base
              detention decisions on hearsay evidence. Id.

United States v. Abuhamra, 389 F.3d 309, 320 n. 7 (2d Cir. 2004).

       B.     A Presumption of Detention Applies

             This case involves offenses for which there is a presumption that no
combination of conditions will reasonably assure the defendant’s appearance or the safety of
the community. See 18 U.S.C. § 3142(e)(3). Specifically, the drug trafficking offenses
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charged in Counts One through Three, each of which prescribes a mandatory minimum term
of imprisonment of ten years, carry the presumption for detention. See id. Accordingly, the
defendant bears the initial burden of showing that he is not a flight risk. For the reasons set
forth below, he cannot sustain that burden.

       C.     The Defendant Poses a Significant Risk of Flight

               The defendant poses a significant risk of flight. The defendant faces a ten-year
mandatory minimum sentence of prison on Counts One through Three of the indictment.
Moreover, assuming he falls within a Criminal History Category I, the government’s
preliminary Guidelines estimate for the charged crimes is life imprisonment. As noted above,
the evidence supporting these serious charges is strong, including thousands of intercepted
communications among members of the H-2 Cartel, the defendant and other corrupt officials,
testimony from multiple cooperating witnesses regarding the operations of the H-2 Cartel and
numerous drug seizures. Given the significant jail time the defendant faces upon conviction,
he has a strong incentive to flee the jurisdiction. See United States v. Cisneros, 328 F.3d 610,
618 (10th Cir. 2003) (defendant was flight risk because her knowledge of the seriousness of
charges against her provided a strong incentive to abscond to Mexico); Martir, 782 F.2d at
1147 (defendants charged with serious offenses whose maximum combined terms of 105
years’ imprisonment created potent incentives to flee); United States v. Dodge, 846 F. Supp.
181, 184-85 (D. Conn. 1994) (“possibility of a severe sentence” heightens risk of flight).

                Moreover, the defendant is a citizen and resident of Mexico who was arrested
upon his arrival into Los Angeles International Airport. The defendant only infrequently
travels to the United States. Prior to today, the defendant had not traveled to the United States
since March 2019. The defendant has no apparent significant connection to the United States.
Indeed, the defendant has extremely strong and continuing ties to Mexico, where he normally
resides. Given his absence of any connection to the United States and extensive ties to Mexico,
the defendant constitutes a significant risk of flight. See, e.g., United States v. Boustani, 356
F. Supp. 3d 246, 255 (E.D.N.Y. 2019) (citing defendant’s “complete lack of ties to the United
States, and extensive ties to foreign countries without extradition” as demonstrative of
defendant’s serious risk of flight).

               In addition, the defendant would likely seek to leverage his connections to high-
level H-2 Cartel members in Mexico, as well as former high-level corrupt government
officials, to assist him in fleeing from U.S. law enforcement and shelter him in Mexico. See
United States v. Bruno, 89 F. Supp. 3d 425, 432 (E.D.N.Y. 2015) (observing, in case involving
both serious flight risk and danger to community, that where defendant’s “alleged ties to a
large criminal syndicate indicate that he has strong connections to people who have the
resources to, ability to, and interest in helping him flee the jurisdiction,” that favors denying
bail). While the United States and Mexico have an extradition treaty, it will be extremely
difficult to apprehend the defendant in Mexico if the H-2 Cartel and powerful former
government officials shield him. Moreover, even if he is captured, extradition proceedings in
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Mexico may take years to complete, if the defendant contests his extradition. There is therefore
a significant risk that the defendant’s flight to Mexico would ensure he does not face justice in
an American courtroom. Cf. Boustani, 356 F. Supp. 3d at 255 (citing defendant’s “extensive
ties to foreign countries without extradition” as demonstrating defendant’s “serious risk of
flight”); United States v. Epstein, 155 F. Supp. 2d 323, 326 (E.D. Pa. 2001) (finding
defendant’s extensive ties to Brazil, a country with which United States has no extradition
treaty, to be “crucial factor” in denying bail).

               Although the defendant does not have a criminal history, the defendant’s
personal history and characteristics demand detention and demonstrate that he is a significant
flight risk. As the instant investigation has revealed, the defendant prioritized his personal
greed over his sworn duties as a public servant, and he assured the continued success and safety
of one of Mexico’s most violent drug trafficking organizations. As the defendant’s criminal
conduct makes clear, he has no respect for public authority or the rule of law, and he has
previously endangered the safety of U.S. law enforcement officials and their witnesses by
disclosing the existence and status of the criminal investigation into the H-2 Cartel to its senior
leadership. Thus, there is no reason to believe that the defendant would obey the Court’s orders
or conditions of release if the Court granted bail.

                Notably, the Honorable Brian M. Cogan recently denied a bond application in
similar circumstances. In United States v. Garcia Luna, et al., 19-CR-576 (S-1) (BMC)
(E.D.N.Y.), Judge Cogan denied the bond application of Genaro Garcia Luna, the former
Mexican Secretary of Public Security, who had been charged with drug trafficking offenses
related to his corrupt assistance to the Sinaloa Cartel during his time in public office. See Dkt.
No. 38. In denying the application, Judge Cogan noted that the defendant faced a “significant
period of time [of imprisonment] if there is a conviction” and lacked “community ties” after
spending “his entire life in Mexico.” Id. Judge Cogan further stated: “[B]ased on his former
position as a high-ranking Mexican government official, [the] defendant has access to various
sophisticated and influential actors who may be able to render him assistance should he return
to Mexico. Therefore, there is a real possibility that he may evade capture and prosecution in
the event he flees the United States.” Id. Similar factors enumerated by Judge Cogan in Garcia
Luna are present here and further warrant the defendant’s detention.

               Finally, any proposed use of home detention and/or electronic monitoring in lieu
of detention is insufficient here in light of the defendant’s risk of flight described above. Such
a proposal “at best elaborately replicate[s] a detention facility without the confidence of
security such a facility instills.” United States v. Orena, 986 F.2d 628, 632 (2d Cir. 1993); see
United States v. Zarrab, No. 15 CR 867 (RMB), 2016 WL 3681423, at *10 (S.D.N.Y. June 16,
2016). Here, such an arrangement is wholly inadequate to ensure that this defendant will not
flee from justice.



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III.   Conclusion

              For the foregoing reasons, the government respectfully requests that the Court
issue a permanent order of detention.

                                                 Respectfully submitted,

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                                                 Acting United States Attorney

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